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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re:                                                          Chapter 7

PANOS PAPADOPOULOS SERETIS,                                     Case No. 18-11852 (JLG)

                                       Debtor.
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             APPLICATION FOR ORDER TO RETAIN ACCOUNTANT FOR TRUSTEE

                   This application of ROBERT L. GELTZER, ESQ., the trustee (the “Trustee”) of

Panos Papadopoulos Seretis, the debtor (the “Debtor”), herein respectfully requests and alleges

that:

                   1.        A voluntary petition under Chapter 7 of the United States Bankruptcy

Code (the “Code”) was filed by the Debtor and an order for relief was entered on June 20, 2018,

pursuant to the Bankruptcy Code.

                   2.        The undersigned was appointed interim trustee pursuant to 11 U.S.C.

§ 701 of the Debtor’s estate on or about June 22, 2018, and became permanent Trustee by

operation of law, has qualified and now is acting as such Trustee.

                   3.        The Court has jurisdiction over this Application pursuant to 28 U.S.C.

§§ 157(b)(2).

                   4.        Upon the Trustee’s review of Debtor’s petition and schedules and such

other documents as were provided, and/or following an examination of the Debtor in accordance

with 11 U.S.C. § 341(a) of the Code, the Trustee determined that it is necessary for the Trustee

to employ an accountant for such specialized services.

                   5.        The Trustee desires to retain ANDREW W. PLOTZKER, CPA, LLC,

Certified Public Accountant (“AWPCPA” or “Accountant”), effective as of September 18, 2018,

as Accountant to the Trustee to perform certain accounting services. These services are more

particularly described in the annexed affidavit of Andrew W. Plotzker, CPA, dated October 17,

2018, (the “Affidavit”).

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                  6.        The Trustee has selected AWPCPA for the reason that it has had

considerable experience in matters of this character, and that the Trustee believes AWPCPA is

well qualified.

                  7.        AWPCPA has expressed its willingness to assume such retention to

perform all of the services necessary for the orderly administration of this estate as set forth in

the annexed Affidavit.

                  8.        The Trustee has reviewed the services to be rendered by the Accountant

and the anticipated charges and the Trustee believes them to be fair and reasonable.

                  9.        Professional accounting services that said Accountant has rendered and

will render to the Trustee include, but may not be limited to, the following: (a) assisting the

Trustee and his professionals, if any, in examining and determining from the books and records

of the Debtor and/or other relevant documents whether there exist any fraudulent conveyances,

avoidable preferences, and/or others causes of action that might benefit the Debtor’s estate; (b)

consulting with the Trustee and any other of his retained professionals with respect to any

matters regarding taxation including the filing of appropriate returns; (c) analyzing transactions

with insiders, related and/or affiliated parties; and (d) performing such other reasonably

necessary accounting services that the Trustee may require herein.

                  10.       To the best of Trustee’s knowledge, said Accountant has no connection

with the creditors or any other party in interest, or their respective attorneys, except work

performed for the Trustee and his attorney.

                  11.       The Accountant has advised the Trustee that it neither holds nor

represents any interest materially adverse to the Trustee, to the Debtor, or to the estate in the

matters in which Accountant is to be engaged, that it is a “disinterested person” as that term is

defined in §§ 101(14) and 327 of the Code, and that said employment would be in the best

interests of this estate.




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               12.     Fees will be paid upon the filing of a proper application therefor to the

Court pursuant to §§ 330 and 331 of the Code, the Rules, and any local rules of this District,

and the applicable United States Trustee’s Guidelines.

               WHEREFORE, your petitioner prays that he be authorized to employ ANDREW

W. PLOTZKER, CPA, LLC, effective as of September 18, 2018, as Accountant to the Trustee

for the purposes summarized herein and as set forth in detail in the annexed Affidavit of said

Accountant, and for such other and further relief as is just and proper, for all of which no

previous application has been made.


Dated: October 30, 2018
       New York, New York


                                                      /s/ Robert L. Geltzer
                                                      ROBERT L. GELTZER
                                                      Chapter 7 Trustee
                                                      1556 Third Avenue, Suite 505
                                                      New York, New York 10128
                                                      (212) 410-0100




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